Case 1:09-mj-00398-ECS Document5 Filed 03/31/09 Pageh pit iN OPEN COURT

 

 

 

®& AO 94 (Rev. 12/03) Commitment to Another District l ] cS ND Cc Atlanta
UNITED STATES DISTRICT COURT MAR 31 2009
NORTHERN District of GEORIAMES N. HATTEN, Clerk
Ne Mild A OR: Coe ark
UNITED STATES OF AMERICA COMMITMENT TO AN OTHER’Y “9"
V. DISTRICT

MICHAEL SIMMONS

 

 

 

 

 

 

 

 

DOCKET NUMBER MAGISTRATE JUDGE CASE NUMBER
District of Arrest District of Offense District of Arrest District of Offense
1:09-MJ-0398 09-082
CHARGES AGAINST THE DEFENDANT ARE BASED UPON AN
X Indictment L] Information L) Complaint L] Other (specify)
charging a violation of 21 U.S.C. § 841(a)(1)
DISTRICT OF OFFENSE
Eastern District of Louisiana
DESCRIPTION OF CHARGES:

Possession with intent to distribute a controlled substance

 

CURRENT BOND STATUS:

(1 Bail fixed at and conditions were not met

L] Government moved for detention and defendant detained after hearing in District of Arrest
(Government moved for detention and defendant detained pending detention hearing in District of Offense
[] Other (specify)

 

 

 

Representation: L] Retained Own Counsel X_ Federal Defender Organization L] CJA Attorney LJ] None
Interpreter Required? X No LI Yes Language:
DISTRICT OF

TO: THE UNITED STATES MARSHAL

You are hereby commanded to take custody of the above named defendant and to transport that
defendant with a certified copy of this commitment forthwith to the district of offense as specified above
and there deliver the defendant to the United States Marshal for that District or to some other officer
authorized to receive the defendant.

2/37/07 E. Cee Sar’

‘ Date Judge~

RETURN

 

 

 

This commitment was received and executed as follows:

 

DATE COMMITMENT ORDER RECEIVED PLACE OF COMMITMENT DATE DEFENDANT COMMITTED

 

 

 

DATE UNITED STATES MARSHAL (BY) DEPUTY MARSHAL

 

 

 

 

 
